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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & Email   FOR COURT USE ONLY
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    John W. Lucas (State Bar No. 271038)
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    10100 Santa Monica Blvd., 13th Floor
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         Individual appearing without an attorney
         Attorney for: Bradley D. Sharp, Chapter 11 Trustee

                                     UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
    In re:                                                                         CASE NO.: 2:23-bk-10990-SK

                                                                                   CHAPTER: 11
    LESLIE KLEIN,,

                                                                                   NOTICE OF LODGMENT OF ORDER IN
                                                                                   BANKRUPTCY CASE RE: (title of motion1):

                                                                                   Motion for an Order Restoring Possession of the
                                                                                   Property Located at 322 N. June St., Los Angeles,
                                                                                   California to the Trustee, Compelling Debtor to
                                                                                   Vacate the Property, Authorizing and Directing the
                                                                                   United States Marshals Service to Turnover
                                                                                   Possession of the Property, and Authorizing the
                                                                                   Trustee to Remove Any Remaining Personal Property
                                                                                   [Docket No. 962]

                                                                     Debtor(s)

                                                      ORDER GRANTING MOTION TO ENFORCE ORDER RESTORING
                                                      POSSESSION OF THE PROPERTY LOCATED AT 322 N. JUNE ST., LOS
                                                      ANGELES, CALIFORNIA TO THE TRUSTEE, COMPELLING DEBTOR TO
                                                      VACATE THE PROPERTY, AUTHORIZING AND DIRECTING THE UNITED
                                                      STATES MARSHALS SERVICE TO TURNOVER POSSESSION OF THE
                                                      PROPERTY, AND AUTHORIZING THE TRUSTEE TO REMOVE ANY
PLEASE TAKE NOTE that the order titled                REMAINING PERSONAL PROPERTY
was lodged on (date)            April 9, 2025                         and is attached hereto as Exhibit A.




1
    Please abbreviate if title cannot fit into text field.

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                             Page 1                             F 9021-1.2.BK.NOTICE.LODGMENT
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                                       EXHIBIT A




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                                                                    7
                                                                      Counsel to Bradley D. Sharp, Chapter 11 Trustee
                                                                    8
                                                                                               UNITED STATES BANKRUPTCY COURT
                                                                    9                            CENTRAL DISTRICT OF CALIFORNIA
                                                                   10                                   LOS ANGELES DIVISION

                                                                   11 In re                                             Case No.: 2:23-bk-10990-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12 LESLIE KLEIN,                                     Chapter 11

                                                                   13                       Debtor.                     ORDER GRANTING MOTION TO
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                                                                        ENFORCE ORDER RESTORING
                                                                   14                                                   POSSESSION OF THE PROPERTY
                                                                                                                        LOCATED AT 322 N. JUNE ST., LOS
                                                                   15                                                   ANGELES, CALIFORNIA TO THE
                                                                                                                        TRUSTEE, COMPELLING DEBTOR TO
                                                                   16                                                   VACATE THE PROPERTY, AUTHORIZING
                                                                                                                        AND DIRECTING THE UNITED STATES
                                                                   17                                                   MARSHALS SERVICE TO TURNOVER
                                                                                                                        POSSESSION OF THE PROPERTY, AND
                                                                   18                                                   AUTHORIZING THE TRUSTEE TO
                                                                                                                        REMOVE ANY REMAINING PERSONAL
                                                                   19                                                   PROPERTY

                                                                   20                                                   [Relates to Docket No. 923, 962, 1005, and 1009]

                                                                   21                                                    Date: April 8, 2025
                                                                                                                         Time: 2:00 p.m.
                                                                   22                                                    Place: Courtroom 1545
                                                                                                                                255 E. Temple Street
                                                                   23                                                           Los Angeles, CA 90012

                                                                   24             The Court, having considered (i) the Trustee’s Motion for an Order Restoring Possession
                                                                   25 of the Property Located at 322 N. June St., Los Angeles, California to the Trustee, Compelling

                                                                   26 Debtor to Vacate the Property, Authorizing and Directing the United States Marshals Service to

                                                                   27 Turnover Possession of the Property, and Authorizing the Trustee to Remove Any Remaining

                                                                   28 Personal Property [Docket No. 962] (the “Motion”) and the declaration of John W. Lucas filed in


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                                                                    1 support thereof; (ii) the Opposition to the Motion for an Order Restoring Possession of the

                                                                    2 Property Located at 322 N. June St., Los Angeles, California to the Trustee, Compelling Debtor to

                                                                    3 Vacate the Property, Authorizing and Directing the United States Marshals Service to Turnover

                                                                    4 Possession of the Property, and Authorizing the Trustee to Remove Any Remaining Personal

                                                                    5 Property [Docket No. 1005] (the “Opposition”); and (iii) the Reply to the Opposition to the

                                                                    6 Motion for an Order Restoring Possession of the Property Located at 322 N. June St., Los

                                                                    7 Angeles, California to the Trustee, Compelling Debtor to Vacate the Property, Authorizing and

                                                                    8 Directing the United States Marshals Service to Turnover Possession of the Property, and

                                                                    9 Authorizing the Trustee to Remove Any Remaining Personal Property [Docket No. 1009]; and the

                                                                   10 Court having previously granted the Motion for Order to Restore Possession of the Property

                                                                   11 Located at 322 N. June St., Los Angeles, California to the Trustee and Compelling Debtor to
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                                                                   12 Vacate the Property [Docket No. 890] via order entered at Docket No. 923 (the “Turnover

                                                                   13 Order”); and the Turnover Order providing that Leslie Klein and the other Defendants in
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                   14 adversary proceeding No. 24-01140 (the “June St. Action”) were to turnover possession of 322

                                                                   15 N. June St., Los Angeles, California, to the Trustee on or before March 17, 2025; and Leslie Klein

                                                                   16 and the other Defendants in the June St. Action having failed to comply with the Turnover Order,

                                                                   17 and having considered the foregoing pleadings and orders entered by the Court, the record of the

                                                                   18 hearing on the Motion, the arguments of counsel at the hearing, and the findings made by the

                                                                   19 Court on the record of the hearing; and pursuant to this Court’s inherent powers under 11 U.S.C

                                                                   20 §§ 105 and 542, Bankruptcy Rule 7070, and Local Bankruptcy Rule 7064-1(e), and for reasons

                                                                   21 stated by the Court on the record of the hearing,

                                                                   22             IT IS HEREBY ORDERED:
                                                                   23             1.        The Motion is GRANTED and the Opposition is OVERRULED and this Order is
                                                                   24 immediately enforceable upon its entry.

                                                                   25             2.        This Order shall constitute a Judgment and Writ of Possession of the real property
                                                                   26 located at 322 N. June St., Los Angeles, California (the “Property”), and shall be enforceable,

                                                                   27 without further Order of this Court, by the United States Marshals Service (the “U.S. Marshal”),

                                                                   28 or the Los Angeles County Sheriff or any marshal or constable of the County of Los Angeles.


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                                                                    1             3.        The U.S. Marshal is immediately directed to assist the Trustee and/or his agents in

                                                                    2 immediately evicting any individual occupying the Property.

                                                                    3             4.        Upon execution and entry of this Order, the U.S. Marshal, or any other executing

                                                                    4 officer authorized by the court, is immediately directed to assist the Trustee and/or his advisors to

                                                                    5 enforce the underlying Turnover Order awarding possession of the Property to the Trustee on

                                                                    6 behalf of the above-captioned bankruptcy estate (the “Estate”).

                                                                    7             5.        The Trustee, solely in his capacity as such, and/or his authorized agent(s) will act

                                                                    8 as substitute custodian of any and all items of personal property seized pursuant to this Order and

                                                                    9 the U.S. Marshal shall have no liability arising from any acts, incidents, or occurrences in

                                                                   10 connection with the seizure of the personal property located at the subject real property arising in

                                                                   11 the ordinary authorized scope of duties of the U.S. Marshal (which acts do not include acts arising
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                                                                   12 from negligent or intentional tortious conduct), including any third party claims and the U.S.

                                                                   13 Marshal shall be discharged of his or her duties and responsibilities for safekeeping of the seized
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                   14 goods.

                                                                   15             6.        The U.S. Marshal accomplishing such eviction or seizure shall use whatever

                                                                   16 reasonable force necessary to break open and enter the Property regardless of whether the

                                                                   17 premises or location is locked or unlocked, occupied or unoccupied and to inspect the contents of

                                                                   18 any room, closet, cabinet, vehicle, container, desk or documents.

                                                                   19             7.        Anyone interfering with the execution of this Order is subject to arrest by law

                                                                   20 enforcement officials.

                                                                   21             8.        The Trustee is authorized to utilize Estate funds to pay all reasonable and

                                                                   22 appropriate fees and expenses to carry out the enforcement of this Order regarding the eviction of

                                                                   23 any individuals occupying the Property and to pay reasonable and necessary expenses to remove

                                                                   24 and store any personal property (i.e., the cost of moving, storage, locksmith, etc.), currently

                                                                   25 located at the Property and to reimburse the Trustee’s counsel and other advisors regarding

                                                                   26 incurrence of such fees and expenses.

                                                                   27
                                                                                                                           ######
                                                                   28


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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
One Sansome Street, 34th Floor, Suite 3430 San Francisco, CA 94104-4436

A true and correct copy of the foregoing document entitled (specify): NOTICE OF LODGMENT OF INTERIM ORDER
GRANTING MOTION OF CHAPTER 11 TRUSTEE FOR ORDER APPROVING SETTLEMENT BETWEEN THE
TRUSTEE AND ERICA VAGO AND JOSEPH VAGO PURSUANT TO BANKRUPTCY RULE 9019 AND DENYING
RESPONDENT’S MOTION TO CONTINUE HEARING will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 9, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 9, 2025, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 9, 2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

  Via Email:                                                                  Via Email:
  Eric J Olson: eric@ejolsonlaw.com                                           Daniel A. Crawford, Esq.
                                                                              Crawford Law Group
  Leslie Klein: les.kleinlaw@gmail.com;                                       15303 Ventura Blvd., Ninth Floor
  leskleinlaw@gmail.com; kleinlaw@earthlink.net                               Sherman Oaks, California 91403
                                                                              Email: dac@crawfordlawgroup.com


                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 9, 2025        Oliver Carpio                                                              /s/ Oliver Carpio
 Date                         Printed Name                                                       Signature




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June 2012                                                                       F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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2. SERVED BY UNITED STATES MAIL:

            Peter C. Anderson, U.S. Trustee                Nathan Talei                                 Leslie Klein & Associates, Inc.
            Michael Jones, Assistant U.S. Trustee          Oldman, Sallus & Gold, L.L.P.                c/o Parker Milliken
            Office of the U.S. Trustee                     16133 Ventura Blvd., PH-A                    555 Flower Street
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            Los Angeles, CA 90017

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            Pasadena, California 91101




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